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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

LAMONICA N. MILES,                                §
                                                  §
VS.                                               §       CIVIL ACTION No.4:18-CV-696-0(BJ)
                                                  §
DRIFTWOOD HOSPITALITY                             §

          FINDINGS, CONCLUSIONS AND RECOMMENDATION OF THE
         UNITED STATES MAGISTRATE JUDGE AND NOTICE AND ORDER

        In this case, Plaintiff has filed a civil case with a motion for leave to proceed in forma

pauperis. Resolution of the motion was referred to the United States Magistrate Judge pursuant to

the provisions of28 U.S.C. § 636(b) and Miscellaneous Order No. 6. 1 The findings, conclusions and

recommendation of the United States Magistrate Judge are as follows:

                                 FINDINGS AND CONCLUSIONS:

        A. NATURE OF THE CASE

         This case is a new civil action.

        B. PARTIES

        Lamonica N. Miles is the plaintiff. The defendant is listed as Driftwood Hospitality.

        C. LEGAL ANALYSIS

        Plaintiff filed a completed long-form motion to proceed in forma pauperis under 28 U.S.C.

§ 1915 et. seq. That application/ motion includes the income and asset information for the plaintiff.

A review of the financial information submitted in the long-form application/motion reflects that

plaintiff Miles receives $2,088.14 in monthly income. She lists no dependents. The applicable




        1
         0rder for the Adoption of Rules for the Exercise of Powers and Performances of duties by United States
Magistrate Judges, signed May 5, 2005.
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poverty guideline for a family of one is $12,140. 2 At $2,088.14 per month, Plaintiff receives over

$25,000 in annual income, more than double the poverty level. The information in this application

thus shows that Plaintiff has sufficient resources available to pay the applicable fees. Thus, after

review and consideration of the application/motion to proceed in forma pauperis, the undersigned

finds the motion to proceed IFP should be denied, and will make such a recommendation.

                                                RECOMMENDATION

        It is therefore RECOMMENDED that Plaintiffs motion to proceed in forma pauperis [docket

no. 2] be DENIED by the district judge.

         It is further RECOMMENDED that the district judge inform Plaintiff that the complaint will

be subject to dismissal without further notice under Federal Rule of Civil Procedure 41 (b), unless

Plaintiff pays to the clerk of Court the filing and administrative fees of $400.00 3 within seven (7)

days after the district judge's order.

                           NOTICE OF RIGHT TO OBJECT TO PROPOSED
                        FINDINGS, CONCLUSIONS AND RECOMMENDATION
                           AND CONSEQUENCES OF FAILURE TO OBJECT

         A copy of this report and recommendation shall be served on all parties in the manner

provided by law. Under 28 U.S.C. § 636(b)(1 ), each party to this action has the right to serve and file

specific written objections in the United States District Court to the United States Magistrate Judge's

proposed findings, conclusions, and recommendation within fourteen (14) days after the party has

been served with a copy of this document. The United States District Judge need only make a de



         2
             See https://aspe.hhs.gov/poverty-guidelines.
         3
          In addition to the filing fee of$350, the District Court Miscellaneous Fee Schedule, effective May I, 2013,
requires payment of an administrative fee for filing a civil action in district court of$50. See 28 U.S.C.§ 1914(a) and
District Court Miscellaneous Fee Schedule, note 14.

                                                            2
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novo determination of those portions of the United States Magistrate Judge' s proposed findings,

conclusions, and recommendation to which specific objection is timely made. See 28 U.S.C. §

636(b )(1 ). Failure to file by the date stated above a specific written objection to a proposed factual

finding or legal conclusion will bar a party, except upon grounds of plain error or manifest injustice,

from attacking on appeal any such proposed factual findings and legal conclusions accepted by the

United States District Judge. See Douglass v. United Servs. Auto Ass 'n, 79 F .3d 1415, 1428-29 (5th

Cir. 1996) (en bane), superseded by statute 28 U.S.C. § 636(b)(l) (extending the deadline to file

objections from ten to fourteen days).

                                               ORDER

        Under 28 U .S.C. § 636, it is ORDERED that Plaintiff is granted until September ? ,2018

to serve and file written objections to the United States Magistrate Judge ' s proposed findings ,

conclusions and recommendation.

        It is further ORDERED that the above-styled and numbered action, previously referred to the

United States Magistrate Judge for findings, conclusions and recommendation, be and is hereby,

RETURNED to the docket of the United States District Judge.

        SIGNED    Augus2~, 2018.




                                                   3
